          Case 24-04842-CL7                         Filed 12/23/24                 Entered 12/25/24 21:08:34                          Doc 7         Pg. 1 of 6

Information to identify the case:

Debtor 1:
                      Narges Miriam Vakili                                               Social Security number or ITIN:   xxx−xx−3748
                                                                                         EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                                Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                                      EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Southern District of California                   Date case filed for chapter:         7    12/22/24

Case number:           24−04842−CL7

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                       12/15/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                             About Debtor 2:

1.        Debtor's full name                      Narges Miriam Vakili

2.        All other names used in the
          last 8 years

3.        Address                                 17109 Botero Drive
                                                  San Diego, CA 92127
                                                  UNITED STATES

4.         Debtor's attorney                      William G Silverstein                                       Contact phone 310−954−9595
                                                  Law Office of William G. SIlverstein                        Email pacer@sorehands.com
           Name and address                       8383 Wilshire Blvd., Suite 630
                                                  Beverly Hills, CA 90211

5.        Bankruptcy trustee                     Gerald H. Davis                                              Contact phone 619−400−9997
                                                 Gerald H. Davis                                              Email: ghd@trusteedavis.com
          Name and address                       PO Box 38
                                                 Aguanga, CA 92536
                                                                                                                        For more information, see page 2 >
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Debtor Narges Miriam Vakili                                                                                               Case number 24−04842−CL7


6. Bankruptcy clerk's office                         Jacob Weinberger U.S. Courthouse                              Hours open
                                                     325 West F Street
    Documents in this case may be filed at           San Diego, CA 92101−6991                                      8:30am − 4:30pm
    this address. You may inspect all records
    filed in this case at this office or online at
    www.casb.uscourts.gov.                                                                                         Contact phone 619−557−5620


7. Meeting of creditors                                                                                            Location:

    Debtors must attend the meeting to be                                                                          Zoom video meeting. Go to
    questioned under oath. In a joint case,          January 22, 2025 at 09:00 AM                                  Zoom.us/join, Enter Meeting ID
    both spouses must attend. Creditors may
    attend, but are not required to do so.                                                                         490 058 9288, and, Passcode
                                                     The meeting may be continued or adjourned to a                2108118035, OR, call (619)
                                                     later date. If so, the date will be on the court              367−1405
                                                     docket.
                                                                                                                   For additional meeting
                                                                                                                   information go to
                                                                                                                   www.justice.gov/ust/moc

8. Presumption of abuse                              The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                      Filing deadline: 3/24/25
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                     You must file a complaint:
                                                     • if you assert that the debtor is not entitled to
                                                       receive a discharge of any debts under any of the
                                                       subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                       or

                                                     • if you want to have a debt excepted from discharge
                                                       under 11 U.S.C § 523(a)(2), (4), or (6).

                                                     You must file a motion:
                                                     • if you assert that the discharge should be denied
                                                       under § 727(a)(8) or (9).


                                                     Deadline to object to exemptions:                             Filing deadline: 30 days after the
                                                     The law permits debtors to keep certain property as exempt.   conclusion of the meeting of creditors
                                                     If you believe that the law does not authorize an exemption
                                                     claimed, you may file an objection.


10. Proof of claim                                   No property appears to be available to pay creditors. Therefore, please do not file a
                                                     proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless       will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                   deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                  The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                     not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                     exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                     www.casb.uscourts.gov. If you believe that the law does not authorize an exemption that
                                                     the debtors claim, you may file an objection. The bankruptcy clerk's office must receive
                                                     the objection by the deadline to object to exemptions in line 9.
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Debtor Narges Miriam Vakili                                                                          Case number 24−04842−CL7

                        NOTICE OF APPOINTMENT OF INTERIM TRUSTEE
   An order for relief having been entered in the above−referenced case on 12/22/24, the following person is named Interim
Trustee of the estate of the debtor:


                                                         Gerald H. Davis
                                                         Gerald H. Davis
                                                           PO Box 38
                                                       Aguanga, CA 92536

                                            TRUSTEE REQUIREMENTS
   The Trustee requires that Debtor(s) show a government (picture) ID and evidence of their social security number at the
341(a) Creditor's Meeting.
   Debtors are to provide the Trustee with written documentation supporting income earnings as set forth in Schedule I of the
debtor's case within 14 days of the filing of the case. If documents are not provided, the Trustee may move for dismissal of the
case without further notice to the Debtor or creditors. Alternatively, the Trustee may seek an extension of time to file to move for
dismissal if the Trustee is investigating assets of the estate, without further notice to the Debtor or creditors.
   Debtors and debtors' attorneys must review the Standing Administration Guidelines immediately to comply with the
production of supporting documentation of material represented in the Schedules and Statement of Financial Affairs. Failure to
do so in a timely manner may result in continuances of Meetings and additional appearances. The Trustee Guidelines and
Additional Requirements are available on the internet at:

                                          http://www.casb.uscourts.gov/trusteeguidelines


                                                 DISMISSAL OF CASE
    Notice is given that this case will be dismissed if the debtor(s) fails to pay the filing fee pursuant to Rules of Bankruptcy
Procedure 1006. Also, notice is given that the case may be dismissed if the petition was filed by an unrepresented debtor
without including a legible photocopy of the filer's government issued photo identification (such as driver's license or passport).
This dismissal may occur without further notice.
   Furthermore, notice is given that if the Debtor fails to file schedules and statements or other documents required by the Rules
of Bankruptcy Procedure 1007 and/or 11 U.S.C. 521, or if the Debtor or Joint Debtor fails to appear at the scheduled §341(a)
meeting that the Court, Trustee or U.S. Trustee may move for dismissal of the case without further notice to the Debtor or
Creditors. A party in interest may object to the motion for dismissal at the §341(a) meeting, at which time a hearing on the
objection will be scheduled.

     NOTICE OF FILING OF FINANCIAL MANAGEMENT COURSE CERTIFICATE
   Notice is given that this case will be closed with no discharge if the debtor(s) fail to file the required Financial Management
Course Certificate within 60 days after the first date set for the meeting of creditors under §341.

                                                BANKRUPTCY FRAUD
   If you have information regarding any bankruptcy fraud or abuse, please contact the United States Trustee in writing at 880
Front Street, 3rd Floor, Ste. 3230, San Diego, CA 92101 and/or by calling 619−557−5013.

                                                                                                                              page 3


                                                                                For the Court:
                                                                                Mark T. Schnakenberg, Clerk
                                                                                United States Bankruptcy Court
Dated: 12/23/24                                                                 Southern District of California
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                                                              United States Bankruptcy Court
                                                              Southern District of California
In re:                                                                                                                 Case No. 24-04842-CL
Narges Miriam Vakili                                                                                                   Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0974-3                                                  User: Admin.                                                                Page 1 of 3
Date Rcvd: Dec 23, 2024                                               Form ID: 309A                                                             Total Noticed: 25
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 25, 2024:
Recip ID                   Recipient Name and Address
db                     +   Narges Miriam Vakili, 17109 Botero Drive, San Diego, CA 92127, UNITED STATES 92127-1423
15151771               +   DMV State of California, PO Box 932325, Sacramento, CA 94232-3250
15151774               +   Golden Grate Bridge, PO Box 26925, San Francisco, CA 94126-6925
15151764               +   LAW OFFICES OF WILLIAM G. SILVERSTEIN, 8383 Wilshire Blvd, Ste 630, Beverly Hills, CA 90211-2438
15151777                   Santander Consumer USA, PO Box 91245, Fort Worth, TX 76161

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: pacer@sorehands.com
                                                                                        Dec 23 2024 23:39:00      William G Silverstein, Law Office of William G.
                                                                                                                  SIlverstein, 8383 Wilshire Blvd., Suite 630,
                                                                                                                  Beverly Hills, CA 90211
tr                     + EDI: FGHDAVIS.COM
                                                                                        Dec 24 2024 04:24:00      Gerald H. Davis, Gerald H. Davis, PO Box 38,
                                                                                                                  Aguanga, CA 92536-0038
smg                        EDI: CALTAXFEE
                                                                                        Dec 24 2024 04:24:00      California Department of Tax and Fee
                                                                                                                  Administratio, Account Information Group,
                                                                                                                  MIC:29, P.O. Box 942879, Sacramento, CA
                                                                                                                  94279-0029
smg                    ^ MEBN
                                                                                        Dec 23 2024 23:23:19      Div. of Labor Standards Enforcement, 7575
                                                                                                                  Metropolitan Drive, Suite 210, San Diego, CA
                                                                                                                  92108-4424
smg                    + EDI: EDD.COM
                                                                                        Dec 24 2024 04:24:00      Employment Develop. Dept., State of CA,
                                                                                                                  Bankruptcy Unit - MIC 92E, P.O. Box 826880,
                                                                                                                  Sacramento, CA 94280-0001
smg                        EDI: CALTAX.COM
                                                                                        Dec 24 2024 04:24:00      Franchise Tax Board, Attn: Bankruptcy, P.O. Box
                                                                                                                  2952, Sacramento, CA 95812-2952
ust                    + Email/Text: ustp.region15@usdoj.gov
                                                                                        Dec 23 2024 23:40:00      United States Trustee, Office of the U.S. Trustee,
                                                                                                                  880 Front Street, Suite 3230, San Diego, CA
                                                                                                                  92101-8897
15151766               + EDI: GMACFS.COM
                                                                                        Dec 24 2024 04:21:00      Ally Financial Services, 500 Woodard Avenue,
                                                                                                                  Detroit, MI 48226-3416
15151767               + EDI: BANKAMER
                                                                                        Dec 24 2024 04:21:00      Bank of America, 4909 Savarese Circle, Tampa,
                                                                                                                  FL 33634-2413
15151768               + EDI: CAPONEAUTO.COM
                                                                                        Dec 24 2024 04:24:00      Capital One Auto Finance, 7933 Preston Road,
                                                                                                                  Plano, TX 75024-2302
15151769               + EDI: CITICORP
                                                                                        Dec 24 2024 04:21:00      Citibank / THD, PO Box 790040, St. Louis, MO
                                                                                                                  63179-0040
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Date Rcvd: Dec 23, 2024                                             Form ID: 309A                                                           Total Noticed: 25
15151770                + EDI: CCS.COM
                                                                                     Dec 24 2024 04:24:00     Credit Collection Services, 725 Canton Street,
                                                                                                              Norwood, MA 02062-2679
15151772                  Email/Text: FirstmarkAccountMa@firstmarkservices.com
                                                                                     Dec 23 2024 23:39:00     Firstmark Services, 121 S 13th Street, Ste 201,
                                                                                                              Lincoln, NE 68508
15151773                + EDI: PHINAMERI.COM
                                                                                     Dec 24 2024 04:21:00     GM Financial, PO Box 183853, Arlington, TX
                                                                                                              76096-3853
15151775                  EDI: JPMORGANCHASE
                                                                                     Dec 24 2024 04:21:00     JPMorgan Chase Auto Finance, PO Box 901076,
                                                                                                              Fort Worth, TX 76101
15151776                  Email/Text: Bankruptcies@semprautilities.com
                                                                                     Dec 23 2024 23:39:00     San Diego Gas & Electric, PO Box 25111, Santa
                                                                                                              Ana, CA 92799
15151778                + EDI: SYNC
                                                                                     Dec 24 2024 04:21:00     Synchrony Bank / JCPenney, PO Box 965060,
                                                                                                              Orlando, FL 32896-5060
15151780                + EDI: WFFC2
                                                                                     Dec 24 2024 04:21:00     Wells Fargo Bank, 1 Home Campus, MAC
                                                                                                              X2303-01A 3rd Floor, Des Moines, IA
                                                                                                              50328-0001
15151779                + EDI: WFFC2
                                                                                     Dec 24 2024 04:21:00     Wells Fargo Bank Dealer Services, 1100
                                                                                                              Corporate Center Drive, Raleigh, NC 27607-5066
15151781                + EDI: WFFC2
                                                                                     Dec 24 2024 04:21:00     Wells Fargo Card, PO Box 29482, Phoenix, AZ
                                                                                                              85038-9482

TOTAL: 20


                                                     BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
smg               *+            United States Trustee, Office of the U.S. Trustee, 880 Front Street, Suite 3230, San Diego, CA 92101-8897
15151765          ##+           Narges Miriam Vakili, 17109 Botero Drive, San Diego, CA 92127-1423

TOTAL: 0 Undeliverable, 1 Duplicate, 1 Out of date forwarding address


                                                    NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 25, 2024                                          Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 22, 2024 at the address(es) listed
below:
Name                              Email Address
Gerald H. Davis
                                  ghd@trusteedavis.com ghd@trustesolutions.net

United States Trustee
                                  ustp.region15@usdoj.gov

William G Silverstein
           Case 24-04842-CL7          Filed 12/23/24           Entered 12/25/24 21:08:34   Doc 7   Pg. 6 of 6

District/off: 0974-3                                      User: Admin.                                  Page 3 of 3
Date Rcvd: Dec 23, 2024                                   Form ID: 309A                               Total Noticed: 25
                          on behalf of Debtor Narges Miriam Vakili pacer@sorehands.com


TOTAL: 3
